            2:19-cv-02277-SLD # 7         Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

EMANUEL DEMAR BURNS (#209255),                     )
                                                   )
                Plaintiff,                         )
                                                   )           No. 19 C 4353
       v.                                          )
                                                   )           Judge Sara L. Ellis
THE STATE OF ILLINOIS, et al.,                     )
                                                   )
                Defendants.                        )

                                              ORDER

       The Court transfers this action forthwith to the United States District Court for the
Central District of Illinois, Urbana Division, for consideration of Plaintiff’s complaint [1], and
for whatever other action the transferee court deems appropriate. See 28 U.S.C. § 1404(a).

                                           STATEMENT

        Plaintiff Emanuel Demar Burns, a detainee at the Jerome Combs Detention Center in
Kankakee, Illinois, brought this pro se civil rights action pursuant to 42 U.S.C. § 1983, on a
Central District of Illinois form, regarding his arrest in Kankakee County by Kankakee police
officers.

       Under 28 U.S.C. § 1391(b), a civil action may be brought only in:

                (1) a judicial district in which any defendant resides, if all
                defendants are residents of the State in which the district is located;
                (2) a judicial district in which a substantial part of the events or
                omissions giving rise to the claim occurred, or a substantial part of
                property that is the subject of the action is situated; or
                (3) if there is no district in which an action may otherwise be
                brought as provided in this section, any judicial district in which
                any defendant is subject to the court’s personal jurisdiction with
                respect to such action.

Kankakee County is located in the Central District of Illinois, Urbana Division. See 28 U.S.C.
§ 93(b). Venue thus lies in the Central District. “For the convenience of parties and witnesses,
in the interest of justice, a district court may transfer any civil action to any other district or
division where it might have been brought.” 28 U.S.C. § 1404(a). Without expressing any
opinion as to the merits of Burns’ claims, the Court finds that venue does not exist in this district
and that the Central District of Illinois is a more convenient forum. In the interests of justice
and in accordance with 28 U.S.C. § 1404(a), the Court transfers this case to the Central District
         2:19-cv-02277-SLD # 7   Page 2 of 2




of Illinois, Urbana Division.


Date: October 17, 2019                         /s/ Sara L. Ellis




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